                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                      GREEN BAY DIVISION


 TIMOTHY J. FAST,
 on behalf of himself and
 all others similarly situated

                 Plaintiff,                           Case No.: 16-cv-1347

         v.

 CASH DEPOT, LTD.

                 Defendant.


                        DECLARATION OF SUMMER HART MURSHID


         I, Summer Hart Murshid, certify under penalty of perjury that the following is true and

 correct to the best of my knowledge and recollection:

         1.      The statements set forth in this declaration are made of my own personal

knowledge and, if called as a witness, I could and would testify competently to the matters stated

below.

         2.      I was admitted to the Bar of the State of Wisconsin in 2009. I am also admitted to

practice before the United States District Courts for the Eastern and Western Districts of

Wisconsin. Most of my professional time and efforts have involved representing employees in

employment matters, particularly wage and hour matters.

         3.      I have worked at Hawks & Quindel, S.C. in 2009 and am currently a Shareholder

at the firm.

         4.      Throughout my years of practice, I have represented numerous individuals in

efforts to recover unpaid wages under both state and federal law. My practice has been devoted to



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wage and hour and employment law, primarily focusing on individual and class/collective action

wage litigation in federal court. I am a member of the Wisconsin Employment Lawyers

Association and served three terms as a Board Member of the Labor and Employment Law

Section of the Wisconsin State Bar.

         5.    I am aware that the Attorneys at Walcheske & Luzi, LLC have represented

Plaintiffs in individual and class/collective action wage and hour matters in front of the United

States District Court for the Eastern and Western Districts of Wisconsin. I am aware that

attorneys James A. Walcheske and Scott S. Luzi are experienced with complex federal wage and

hour litigation, and they have served as counsel on behalf of individuals in single-Plaintiff and

multi-Plaintiff wage and hour actions.

         6.    I currently bill for my services at the rate of $350.00 per hour. This hourly rate

has also been approved in the Eastern District of Wisconsin.

         7.    As an attorney who has practiced employment law at multiple firms in the area,

and as counsel on a multitude of wage and hour cases, I am familiar with the market rate in

Wisconsin for representation of plaintiffs under the Fair Labor Standards Act and Wisconsin state

law and a plaintiff’s ability to recover reasonable attorneys’ fees and costs incurred in such

litigation. With respect to individual and class/collective action wage and hour cases, I believe

that my hourly rate is reasonable and representative of market rate for such services on these

cases.

         8.    I understand that attorneys James A. Walcheske and Scott S. Luzi are filing a

petition for Attorneys’ Fees and Costs in this matter, which is a class/collective wage and hour

case brought under the Fair Labor Standards Act and Wisconsin state law. I understand that James

A. Walcheske’s current hourly rate is $350.00 for services rendered in individual and




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class/collective action wage and hour cases, and that Scott S. Luzi’s current hourly rate is also

$350.00 for services rendered in individual and class/collective action wage and hour cases.

        9.      I understand that the Plaintiff’s allegations in this case were that Defendant failed

to include non-discretionary monetary payments in Plaintiff’s and other similarly situated

employees’ regular rates of pay for overtime purposes, in violation of the Fair Labor Standards

Act and Wisconsin state law. I further understand that, as part of this case, the Defendant

compensated Plaintiff and other similarly situated employees of it with monetary payments.

       10.      Based on my experience and knowledge of the market, as well as my personal

opinion of the work of the Attorneys James A. Walcheske and Scott S. Luzi, my opinion is that

their hourly rates are reasonable for a wage and hour case. Further, based on my experience, my

opinion is that a plaintiff and other similarly situated employees in a class/collective action who

recover a portion, or a substantial portion, of the alleged damages in a wage and hour case

constitute a prevailing plaintiff who is entitled to reasonable attorneys’ fees and costs.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                Executed this 14th day of June, 2018.

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                                                               s/ Summer Hart Murshid ____
                                                               Summer Hart Murshid




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